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                   I N T H E UN IT E D S T A T E S D I S T R I C T C O U R T
                      F O R T H E W E S T E R N D I S T RI C T O F T E X A S
                                SAN ANTON IO D IV IS ION

 J OE HO LC OM BE, et. al,                  §         NO. 5: 18 -C V-00555 -XR
                                            §
 Plaintiffs                                 §   Consolidated with:
                                            §   5:18-cv-00712-XR (Vidal)
                                            §   5:18-cv-00881-XR (Uhl)
 vs.                                        §   5:18-cv-00944-XR (Ramsey)
                                            §   5:18-cv-00949-XR (McNulty)
 UN ITED S TATES O F                        §   5:18-cv-00951-XR (Wall)
 AM ER IC A,                                §   5:18-cv-01151-XR (Amador)
                                            §   5:19-cv-00184-XR (Brown)
 Defendant                                  §   5:19-cv-00289-XR (Ward)
                                            §   5:19-cv-00506-XR (Workman)
                                            §   5:19-cv-00678-XR (Colbath)
                                            §   5:19-cv-00691-XR (Braden)
                                            §   5:19-cv-00706-XR (Lookingbill)
                                            §   5:19-cv-00714-XR (Solis)
                                            §   5:19-cv-00715-XR (McKenzie)
                                            §   5:19-cv-00805-XR (Curnow)
                                            §   5:19-cv-00705-XR (Workman)
                                            §   5:19-cv-00806-XR (Macias)


  UNITED STATES’ NOTICE OF FILING OF RULE 16 CONFERENCE DOCUMENTS

       Pursuant to the Court’s order dated September 11, 2019, (ECF No. 134), the United States

provides the following response:

       On June 24, 2019, the United States served its Initial Disclosures Pursuant to Federal Rule

of Civil Procedure 26(a)(1). (Exh. A.) A list of the documents produced to date by the United

States is attached. (Exh. B.) As noted in the United States’ motion for the Rule 16 conference, the

United States requests that the Court enter discovery documents, which include a Discovery Plan;

Confidentiality and Protective Order; Order Pursuant to Federal Rule of Evidence 502(d); and a
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Discovery Order. On September 19, 2019, the parties met and conferred to discuss, among other

issues, the parties’ proposed Confidentiality and Protective Orders. The United States believes the

conference was productive and anticipates providing the Court an agreed-upon draft of the

Protective Order prior to the Rule 16 conference. Following the Court’s ruling on the United

States’ request for a Confidentiality and Protective Order, Order Pursuant to Federal Rule of

Evidence 502(d), and Discovery Order, the United States intends to produce additional documents

pursuant to Federal Rule of Civil Procedure 26(a)(1).

       The United States has yet to propound requests for production. The United States’

Objections and Responses to Plaintiffs’ First Request for Production is attached. (Exh. C.) That

attachment provides the United States’ objections to certain requests. See, e.g., Def.’s Responses

to RFPs 38, 47, 48, 54-67, 69-75, 77-93, 95. The basis for these objections is more fully detailed

in the United States’ Motion for a Protective Order. (ECF No. 124.) Similar to its anticipated

production under Rule 26(a), the United States intends to produce documents in response to

Plaintiffs’ uncontested requests following the Court’s ruling on the Confidentiality and Protective

Order, Order Pursuant to Federal Rule of Evidence 502(d), and Discovery Order a Protective

Order. See, e.g., Def.’s Responses to RFPs 1-4, 29, 36, 41, 45, 49, 50, 53, 68, 76. Four sets of

Plaintiffs served a Second Request for Production on August 22, 2019, and the United States is

drafting its response.

       The United States has yet to propound requests for admissions or interrogatories. The

Government’s response to Plaintiffs’ Amended First Request for Admissions & Interrogatories is

attached. (Exh D.) The Government provided answers regarding the authenticity of Department

of Defense Inspector General reports. See, e.g., Def.’s Responses to RFAs 1-4. The United States

objected to Interrogatory No. 1, agreed to provide an answer to Interrogatory No. 2 following the
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Court’s ruling on the United States’ request for a Confidentiality and Protective Order, Order

Pursuant to Federal Rule of Evidence 502(d), and Discovery Order, and provided an answer to

Interrogatory No. 3. The basis for the Government’s objections to the contested requests for

admissions and interrogatories is more fully articulated in the United States’ Motion for a

Protective Order. (ECF No. 124.)

       The United States has yet to serve deposition notices. In response to Plaintiffs’ Deposition

List served on September 4, 2019, (Pls. Exh. B), the United States notes Plaintiffs’ distinction

between “Fact Witnesses” and “Commander/Oversight Positions.” Without yet identifying

specific potential deponents for the eighteen listed “Fact Witnesses,” the United States does not

dispute the basis for those depositions in general, with the notable exception of the Navy

Commander of the facility where Devin Kelley served his prison sentence. Nonetheless, the

number of depositions needed in the litigation, as well as the scope of relevant testimony, is one of

the grounds for which the United States requested a Rule 16 conference. Following the Court’s

guidance on the scope of discovery, as well as a ruling on discovery documents, the United States

intends to identify facts witnesses to be presented for deposition. With respect to the depositions

outlined under the heading “Command/Oversight Positions,” however, the United States objects to

those requests as disproportional to the needs of the case, highly prejudicial, and unduly

burdensome. The vast majority of individuals are high-ranking current and former government

officials who did not have any involvement in whether Devin Kelley’s disqualifying information

was reported to the FBI’s national criminal background check system.

       On August 22, 2019, Plaintiffs served the United States a Notice of Deposition, which

included eleven subject matters for which Plaintiffs sought testimony pursuant to Fed. R. Civ. P.

30(b)(6). On September 18, 2019, the United States presented a witness for deposition to address
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two of the eleven topics from Plaintiffs’ attached 30(b)(6) notice:

   6. Policies, procedures, practices, checklists, and protocols concerning Air Force
      Security Force’s and AFOSI’s execution of DoD Instruction 7730.47-M Volume 1.
      This topic includes, but is not limited to, the monthly submission of information to
      the DMDC and the DIBRS database for centralization of the collection of
      information reportable by the DoD Components pursuant to The Brady Handgun
      Violence Prevention Act of 1993. This topic includes but is not limited to,
      information concerning I2MS, as noted on pages 8–9 of DODIG-2015-011.

   8. Policies, procedures, practices, checklists, and protocols concerning the Air Force Security
      Force’s and AFOSI’s execution of DoD Instruction 5505.11. This topic includes, but is not
      limited to, the submission of fingerprints and final disposition reports to FBI CJIS by both
      the Air Force Security Force and AFOSI. This topic includes, but is not limited to, the
      process by which Devin Kelley’s fingerprints and final disposition report should
      have been reported to FBI CJIS.

       The United States objects to Topics 1-4 as inappropriate subject matters for which to seek

   testimony under Rule 30(b)(6). The United States does not contest the remaining topics and

   intends to provide deponents following the Court’s ruling on the Confidentiality and Protective

   Order, Order Pursuant to Federal Rule of Evidence 502(d), and Discovery Order a Protective

   Order. However, the United States objects to the Notice of Deposition as a means to obtain

   documents from a party deponent. Accordingly, Plaintiffs must seek to obtain documents from

   the United States pursuant to Fed. R. Civ. P. 34, rather than notice duces tecum.

                                                      Respectfully submitted,

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